            Case 3:21-cv-00121-BAJ-EWD            Document 24    04/06/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

BROOK PLAISANCE, ET AL.                                      CIVIL ACTION NO.

VERSUS                                                       21-121-BAJ-EWD

STATE OF LOUISIANA, ET AL.

                           VIDEO STATUS CONFERENCE REPORT

           A telephone conference was held before Magistrate Judge Erin Wilder-Doomes on April

5, 2021, with the following participants:

           PRESENT:     Ellyn Clevenger                      C. Austin Holliday
                        Wendy Manard                         Counsel for Defendant,
                        Counsel for Plaintiffs,              State of Louisiana
                        Brook Plaisance, et al.

                        John D. Walsh
                        Rachel P. Dunaway
                        Kellen J. Matthews
                        Counsel for Defendants,
                        Governor John Bel Edwards,
                        Louisiana Workforce Commission and
                        Secretary Ava DeJoie

           The undersigned set this status conference to discuss discovery and scheduling in

connection with Plaintiff’s request for a preliminary injunction. 1 The parties agreed that

approximately forty-five days to conduct discovery before the preliminary injunction hearing was

a workable time frame. The parties further agreed that, given the very short time before the

hearing, they did not need a formal limited scheduling order. Plaintiffs’ counsel will make every

effort to propound discovery requests to defendants before the April 8, 2021 conference with the

district judge. 2 The parties were instructed to send correspondence to the undersigned if discovery




1
    R. Doc. 12.
2
    R. Doc. 23.

cv38aT0:15
        Case 3:21-cv-00121-BAJ-EWD             Document 24     04/06/21 Page 2 of 2




disputes arise that cannot be resolved through the conferral process.   Any correspondence

regarding discovery issues should briefly summarize the dispute.




                                           2
